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                                                                                                          (800) 603-0836 / (707) 443-1562 (fax)
                                                                                                                Para Español, Ext. 2771 o 2798
                                                                                                              8:00 a.m. - 5:00 p.m. Pacific Time
                      323 5TH ST
                      EUREKA CA 95501

        SEAN CRAWFORD
        C/O MICHAEL A. CIBIK, ATTY
        1500 WALNUT ST STE 900
        PHILADELPHIA PA 191023518




Analysis Date: February 11, 2025                                                                                                                Final
Property Address: 1320 72ND AVENUE PHILADELPHIA, PA 19126
                                      Annual Escrow Account Disclosure Statement
                                                  Account History

      This is a statement of actual activity in your escrow account from Mar 2024 to Mar 2025. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information                  Current:      Effective Apr 01, 2025:                Escrow Balance Calculation
 Principal & Interest Pmt:                 557.52                  557.52 **              Due Date:                                    Feb 01, 2025
 Escrow Payment:                           482.87                  460.54                 Escrow Balance:                                 2,006.31
 Other Funds Payment:                         0.00                    0.00                Anticipated Pmts to Escrow:                       965.74
 Assistance Payment (-):                      0.00                    0.00                Anticipated Pmts from Escrow (-):               2,889.79
 Reserve Acct Payment:                        0.00                    0.00                Anticipated Escrow Balance:                       $82.26
  Total Payment:                          $1,040.39                  $1,018.06
      ** The terms of your loan may result in changes to the monthly principal and interest payments during the year.
                     Payments to Escrow           Payments From Escrow                                       Escrow Balance
       Date          Anticipated   Actual         Anticipated     Actual            Description              Required       Actual
                                                                             Starting Balance                 3,608.56    (1,604.24)
      Mar 2024           482.87                      2,826.20              * City/Town Tax                    1,265.23    (1,604.24)
      Mar 2024                                          31.80        31.80   Mortgage Insurance               1,233.43    (1,636.04)
      Apr 2024           482.87                         31.80        31.80 * Mortgage Insurance               1,684.50    (1,667.84)
      May 2024           482.87     2,416.03            31.80        31.80 * Mortgage Insurance               2,135.57       716.39
      Jun 2024           482.87       482.87            31.80        31.80   Mortgage Insurance               2,586.64     1,167.46
      Jul 2024           482.87       482.87            31.80        31.80   Mortgage Insurance               3,037.71     1,618.53
      Aug 2024           482.87                      2,586.64     2,318.64 * Homeowners Policy                  933.94      (700.11)
      Aug 2024                        482.87            31.80        31.80 * Mortgage Insurance                 902.14      (249.04)
      Sep 2024           482.87                         31.80        31.80 * Mortgage Insurance               1,353.21      (280.84)
      Oct 2024           482.87       482.87            31.80        31.80   Mortgage Insurance               1,804.28       170.23
      Nov 2024           482.87       482.87            31.80        31.80   Mortgage Insurance               2,255.35       621.30
      Dec 2024           482.87       482.87            31.80        31.80   Mortgage Insurance               2,706.42     1,072.37
      Jan 2025           482.87       965.74            31.80        31.80 * Mortgage Insurance               3,157.49     2,006.31
      Feb 2025           482.87                         31.80              * Mortgage Insurance               3,608.56     2,006.31
                                                                             Anticipated Transactions         3,608.56     2,006.31
      Feb 2025                        482.87                         31.80   Mortgage Insurance                            2,457.38
      Mar 2025                        482.87                      2,826.19 City/Town Tax                                     114.06
                                                                                                                                       Page 1
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Mar 2025                                    31.80   EnteredInsurance
                                                   Mortgage  02/17/25 16:35:00                                           Desc Main
                                                                                                                           82.26
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          $5,794.44 $7,244.73 $5,794.44 $5,558.23

An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
our toll-free number.


Last year, we anticipated that payments from your account would be made during this period equaling 5,794.44. Under
Federal law, your lowest monthly balance should not have exceeded 965.74 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue.




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Analysis Date: February 11, 2025                                                                                                                  Final
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Borrower: SEAN CRAWFORD
                                                 Annual Escrow Account Disclosure Statement
                                                        Projections for Coming Year

      This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
      from your account.

        Date              Anticipated Payments                                                                  Escrow Balance
                          To Escrow From Escrow               Description                                 Anticipated      Required
                                                              Starting Balance                                82.26        1,032.41
      Apr 2025               460.54          31.80            Mortgage Insurance                             511.00        1,461.15
      May 2025               460.54          31.80            Mortgage Insurance                             939.74        1,889.89
      Jun 2025               460.54          31.80            Mortgage Insurance                           1,368.48        2,318.63
      Jul 2025               460.54          31.80            Mortgage Insurance                           1,797.22        2,747.37
      Aug 2025               460.54       2,318.64            Homeowners Policy                              (60.88)         889.27
      Aug 2025                               31.80            Mortgage Insurance                             (92.68)         857.47
      Sep 2025               460.54          31.80            Mortgage Insurance                             336.06        1,286.21
      Oct 2025               460.54          31.80            Mortgage Insurance                             764.80        1,714.95
      Nov 2025               460.54          31.80            Mortgage Insurance                           1,193.54        2,143.69
      Dec 2025               460.54          31.80            Mortgage Insurance                           1,622.28        2,572.43
      Jan 2026               460.54          31.80            Mortgage Insurance                           2,051.02        3,001.17
      Feb 2026               460.54          31.80            Mortgage Insurance                           2,479.76        3,429.91
      Mar 2026               460.54          31.80            Mortgage Insurance                           2,908.50        3,858.65
      Mar 2026                            2,826.19            City/Town Tax                                   82.31        1,032.46
                         $5,526.48       $5,526.43

     (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
      Your escrow balance contains a cushion of 857.47. A cushion is an additional amount of funds held in your escrow
      balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
      Federal law, your lowest monthly balance should not exceed 921.07 or 1/6 of the anticipated payment from the account,
      unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
      this issue.

      Your ending balance from the last month of the account history (escrow balance anticipated) is 82.26. Your starting
      balance (escrow balance required) according to this analysis should be $1,032.41. This means you have a shortage of 950.15.
      This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
      deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to do nothing.

      We anticipate the total of your coming year bills to be 5,526.43. We divide that amount by the number of payments expected during
      the coming year to obtain your escrow payment.




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Borrower: SEAN CRAWFORD

      New Escrow Payment Calculation
      Unadjusted Escrow Payment                      460.54
      Surplus Amount:                                  0.00
      Shortage Amount:                                 0.00
      Rounding Adjustment Amount:                      0.00
      Escrow Payment:                               $460.54




     NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
     premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
     the principal balance of your loan is 80 percent or less of the original appraised value of your home, and you have a good payment
     history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth Street,
     Eureka, Ca 95501 or 800-603-0836.

  * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
  updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
  or return in the self-addressed envelope.




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                                  UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:       Sean Crawford                               CASE NO.: 23-10866-pmm
                           Debtor
                                                          CHAPTER 13
              SN Servicing Corporation as servicer
              for U.S. Bank Trust National                Judge: Patricia M. Mayer
              Association as Trustee of Dwelling
              Series IV Trust                             Hearing Date:
              v.

              Sean Crawford
              Kenneth E. West
                           Respondents

                       CERTIFICATE OF SERVICE OF NOTICE OF PAYMENT CHANGE

        I certify under penalty of perjury that I caused to be served the above-captioned pleading on the parties
at the addresses specified below or on the attached list on February 17, 2025.

       The type(s) of service made on the parties (first-class mail, electronic notification, hand delivery, or
another type of service) was: first-class mail and electronic notification

        If more than one method of service was employed, this certificate of service groups the parties by the
type of service. For example, the full name, email address, and where applicable the full name of the person or
entity represented, for each party served by electronic transmission is listed under the heading “Service by NEF,”
and the full name and complete postal address for each party served by mail are listed under the heading “Service
by First-Class Mail.”

EXECUTED ON: February 17, 2025
                                                By: /s/ Lauren Moyer
                                                Lauren Moyer, Esq.
                                                FRIEDMAN VARTOLO LLP
                                                Attorneys for SN Servicing Corporation as servicer for U.S. Bank
                                                Trust National Association as Trustee of Dwelling Series IV Trust
                                                1325 Franklin Avenue, Suite 160
                                                Garden City, NY 11530
                                                T: (212) 471-5100
                                                F: (212) 471-5150
                                                Bankruptcy@FriedmanVartolo.com




 Official Form 410S1                 Notice of Mortgage Payment Change                                      Page 3
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Service by Regular Mail

Sean Crawford
1320 72nd Avenue
Philadelphia, PA 19126-1724
Bankruptcy Debtor

Service by NEF

Kenneth E. West
190 N. Independence Mall West, Suite 701
Philadelphia, PA 19106
Bankruptcy Trustee

Michael A. Cibik
1500 Walnut Street, Suite 900
Philadelphia, PA 19102
Attorney

United States Trustee
Robert N.C. Nix Federal Building
900 Market Street, Suite 320
Philadelphia, PA 19107
United States Trustee
